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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )   CR. F-04-5185 OWW
                                                   )
12                         Plaintiff,              )
                                                   )   ORDER ON STIPULATION FOR
13                                                 )   CONTINUING HEARING FOR CHANGE OF
                                     v.            )   PLEA AS TO ADAN MARTINEZ
14                                                 )
                                                   )
15   RAUL MERCADO-MORENO, et. al.                  )
                                                   )
16                         Defendant.              )
                                                   )
17                                                 )
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            Upon the stipulation of the parties and good cause appearing therefore,
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            IT IS HEREBY ORDERED that the hearing for Adan Martinez’ change of plea shall be
20
21   continued from December 5, 2005 until 3:00 p.m. on December 12, 2005.

22
23   Dated: December 2     , 2005                /s/ OLIVER W. WANGER
24                                               Honorable Oliver W. Wanger
                                                 United States District Judge
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